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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   JONESBORO DIVISION

TURNING POINT USA AT ARKANSAS                                                           PLAINTIFFS
STATE UNIVERSITY; and
ASHLYN HOGGARD

v.                                     No. 3:17CV00327 JLH

RON RHODES, in his individual and official
capacities as member of the Board of Trustees
of the Arkansas State University System; et al.                                      DEFENDANTS

                                              ORDER

       During oral argument on April 29, 2019, defense counsel stated that none of the trustees

named as defendants in this action served on the Board of Trustees when the Arkansas State

University Freedom of Expression Policy was adopted in 1988. If the defendants want the Court to

rely on that statement of fact, they must within seven days from the entry of this order (1) provide

the Court with a citation to the record where that information is found or supplement the motion for

summary judgment with evidence to support that statement of fact and (2) submit a short (no more

than three pages) explanation of the legal significance of that statement of fact along with citations

to legal authority on point. If the plaintiffs wish to reply to the defendants’ response to this order,

they may file a reply of no more than three pages within seven days after the defendants file their

response to this order.

       IT IS SO ORDERED this 1st day of May, 2019.



                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
